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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,      §
      Plaintiffs,                        §
                                         §      Consolidated Case No. 5:21-cv-844-XR
v.                                       §
                                         §
GREGORY W. ABBOTT, et al.,               §
     Defendants.                         §



       Documents Produced with State Defendants’ Initial Disclosures
                          November 5, 2021


           Copy Filed with the Court November 15, 2021 (ECF 112)

                                   Senate Bill 1
                              Legislative Session: 87
                              Second Special Session

                                      Part VI
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Date: November 15, 2021                        Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on November 15, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
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     By: AA Hughes,          et al.                                                                               S.B. A No. A 1


                                                 A BILL        TO BE ENTITLED

 1                                                                 AN ACT

 2   relating          to      election               integrity                and     security,               including          by

 3   preventing           fraud          in     the      conduct            of       elections           in     this      state;

 4   increasing             criminal             penalties;                 creating              criminal          offenses;

 5   providing         civil       penalties.

 6              BE IT ENACTED             BY THE LEGISLATURE                     OF THE STATE            OF TEXAS:

 7                                 ARTICLE          1.    REGISTRATION                OF VOTERS

 8              SECTION      A 1.01. AA Section                13.002 , Election                  Code,        is amended         by

 9   adding      Subsection             (c-1)    to read            as follows:

10              (c-1) AA The            information                required          under        Subsections            (c)(3),

11   (4),     (5),     (6),       and    (8)     must         be    supplied          by   the     person        desiring         to

12   register        to vote.

13              SECTION      A 1.02. AA Section                15.021 , Election                  Code,        is amended         by

14   amending        Subsections              (b)      and     (d)       and    adding       Subsections               (d-1)     and

15   (d-2)      to read      as follows:

16              (b) AA Except           as    provided             by    Subsection              (d),     the    [The]     voter

17   shall       use        the         registration                    certificate              or      a      registration

18   application            form    as the        notice,           indicating             the    correct        information

19   in   the    appropriate              space          on    the       certificate              or    application            form

20   unless      the    voter       does        not    have        possession          of the           certificate            or an

21   application            form    at the time               of giving          the notice.

22              (d) AA A voter           [who       continues            to reside           in the       county        in which

23   the voter         is registered]                 may correct              information             under    this     section

24   by     digital          transmission                of        the      information                 under      a     program




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                                                                                                                  S.B. A No. A 1

 1   administered             by     the       secretary            of     state         and       the     Department           of

 2   Information            Resources.

 3                (d-1) AA If the notice                indicates          that        a voter       no longer          resides

 4   in the       county      in which          the    voter       is registered,                 the    registrar         shall

 5   forward        the     notice       and     the    voter ’s application                      for    registration           to

 6   the     registrar          of       the     county        in       which        the     voter         resides.            The

 7   registrars            shall        coordinate           to     ensure           that    the        voter ’s    existing

 8   registration            is canceled              immediately              after     the      voter     is registered

 9   in     the     county         in     which        the        voter        resides         in        accordance           with

10   Subsection           (d-2).

11                (d-2) AA A       registrar             who        receives            a      voter ’s         notice         and

12   application            from        another        registrar           under         Subsection             (d-1)      shall

13   treat     it as an original                  application             for     registration              under       Section

14   13.002 , and           shall        register        the       voter        if     the   voter        resides        in    the

15   county       and is otherwise                eligible         under        Section        13.001 .

16                SECTION    A 1.03. AA Section              15.028 , Election                    Code,     is amended          to

17   read    as follows:

18                Sec. A 15.028.         AA NOTICE       OF UNLAWFUL              VOTING          OR REGISTRATION              [TO

19   PROSECUTOR].              [(a)]        If the       registrar             determines           that        a person       who

20   is not       eligible         to vote        registered             to vote        or [a registered                 voter]

21   voted     in an election,                 the registrar             shall       execute        and deliver          to the

22   attorney         general,            the      secretary              of     state,           and     the     county        or

23   district        attorney            having       jurisdiction              in the         territory          covered       by

24   the election           an affidavit              stating       the relevant               facts.

25                [(b) AA If       the     election          covers            territory            in     more     than       one

26   county,         the     registrar            shall        also        deliver           an     affidavit           to     the

27   attorney        general.]




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                                                                                                                 S.B. A No. A 1

 1             SECTION       A 1.04. AA Section              16.0332       , Election             Code,     is amended          by

 2   amending          Subsection         (a)    and     adding          Subsections              (a-1),       (d),     and    (e)

 3   to read       as follows:

 4             (a) AA After            the      registrar               receives          notification             [a       list]

 5   under       Subsection            (a-1)      of     this       section,              Section       18.068         of     this

 6   code,       or    Section         62.113 ,        Government              Code,       of     persons        excused        or

 7   disqualified             from      jury     service            because          of    citizenship            status        or

 8   notification            of persons           who       indicate           a lack       of    citizenship            status

 9   in   connection            with     a motor        vehicle           or    Department           of    Public        Safety

10   record      as provided            by Subsection               (a-1),      the registrar              shall       deliver

11   to   each        registered         voter     whose          name     appears          on    the     list    a written

12   notice        requiring           the     voter         to    submit         to      the     registrar           proof     of

13   United       States        citizenship            in     the       form    of     a certified              copy     of    the

14   voter ’s birth             certificate,            United           States        passport,          or    certificate

15   of naturalization                 or any      other          form     prescribed             by the       secretary        of

16   state.           The   notice       shall      be       delivered          by      forwardable             mail     to    the

17   mailing          address     on the        voter ’s registration                      application           and     to any

18   new address            of the voter         known        to the registrar.

19             (a-1) AA The            secretary         of state          shall          enter     into       an agreement

20   with    the      Department         of Public           Safety        under       which       information           in the

21   existing           statewide            computerized                  voter          registration                list      is

22   compared          against       information              in the       database             of the     Department           of

23   Public        Safety         on     a     monthly            basis        to      verify       the        accuracy         of

24   citizenship             status          information                 previously              provided         on        voter

25   registration             applications.                  In     comparing             information            under        this

26   subsection,            the    secretary            of    state        shall        consider          only    a voter ’s

27   information            in the      database         of the          Department             of Public       Safety        that




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                                                                                                               S.B. A No. A 1

 1   was    derived     from       documents         presented           by the         voter    to the        department

 2   after     the person          ’s current        voter       registration             became      effective,              and

 3   may     not   consider          information            derived          from       documents        presented             by

 4   the     voter     to     the       department           before          the        person   ’s    current          voter

 5   registration            became     effective.

 6             (d) AA The       secretary           of     state       shall        prescribe          rules        for       the

 7   administration            of this        section.

 8             (e) AA Not      later        than     December          31 of each            year,      the     secretary

 9   of state        shall     provide        a report           to the      legislature           of the         number       of

10   voter     registrations            canceled          under       this    section        during       the calendar

11   year.

12             SECTION       A 1.05. AA Section            18.068 , Election                 Code,       is amended            by

13   amending        Subsection             (a)     and     adding        Subsection             (a-1)       to    read        as

14   follows:

15             (a) AA The       secretary            of     state         shall         quarterly         compare             the

16   information           received         under    Section          16.001        of this      code     and Sections

17   [Section]         62.113         and     62.114 ,       Government              Code,       to    the      statewide

18   computerized            voter      registration             list.       If the        secretary           determines

19   that     a    voter      on     the     registration              list        is     deceased        or      has     been

20   excused       or disqualified                from    jury    service          because       the voter         is not a

21   citizen       or a resident            of the county             in which          the voter        is registered

22   to vote,      the secretary             shall        send    notice       of the determination                     to:

23                      (1) AA the          voter        registrar           of     the     counties           considered

24   appropriate           by the secretary;               and

25                      (2) AA the          attorney        general,          who       shall    quarterly           review

26   the     information           to   investigate              whether          a person       has     committed             an

27   offense       under     Section        13.007        or other        law.




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                                                                                                         S.B. A No. A 1

 1             (a-1) AA The          secretary       of state         is not     required           to send         notice

 2   under     Subsection            (a) for a voter          who is subject            to an exemption               from

 3   jury      service         under      Section         62.106 ,           Government          Code,         if     that

 4   exemption       is the only         reason       the voter         is excused         from      jury     service.

 5             SECTION        A 1.06. AA Section        31.006 , Election               Code,        is amended         to

 6   read    as follows:

 7             Sec. A 31.006.         AA REFERRAL        [OF       COMPLAINT]         TO   ATTORNEY           GENERAL.

 8   (a)     If, after         receiving       or discovering            information             indicating           that

 9   [a     complaint          alleging]         criminal           conduct      in     connection             with     an

10   election       has occurred,             the secretary           of state        determines         that        there

11   is reasonable            cause     to suspect           that     [the    alleged]        criminal         conduct

12   occurred,          the     secretary            shall         promptly      refer        the       information

13   [complaint]         to the        attorney        general.          The     secretary           shall     deliver

14   to the     attorney         general       all    pertinent         documents          and      information         in

15   the secretary        ’s possession.

16             (b) AA The            documents          and         information              submitted               under

17   Subsection         (a) are not considered                 public         information           until:

18                      (1) AA the       secretary           of state        makes    a determination                 that

19   the      information              [complaint]             received          does         not      warrant          an

20   investigation;             or

21                      (2) AA if referred             to the        attorney        general,          the    attorney

22   general     has completed             the investigation                 or has made         a determination

23   that     the    information              [complaint]            referred         does       not    warrant         an

24   investigation.

25             SECTION        A 1.07. AA Section             62.113 (b),          Government                 Code,      is

26   amended     to read        as follows:

27             (b) AA On the          third    business        day    of each        month,      the    clerk        shall




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                                                                                                             S.B. A No. A 1

 1   send     a copy        of the    list     of persons            excused       or disqualified                 because

 2   of citizenship            in the previous            month       to:

 3                      (1) AA the voter          registrar           of the county;

 4                      (2) AA the secretary              of state;          and

 5                      (3) AA the          attorney      general           and    the    county         or       district

 6   attorney[,         as      applicable,]            for     an     investigation              of    whether           the

 7   person     committed          an offense          under       Section        13.007 , Election               Code,     or

 8   other     law.

 9             SECTION        A 1.08. AA Sections         62.114 (b)           and    (c),      Government            Code,

10   are amended            to read    as follows:

11             (b) AA On the          third    business         day    of each       month,       the       clerk     shall

12   send     [to     the    voter     registrar         of    the     county]        a copy      of        the    list     of

13   persons        excused        or disqualified             in the        previous          month        because       the

14   persons        do not reside           in the county           to:

15                      (1) AA the voter          registrar           of the county;

16                      (2) AA the secretary              of state;          and

17                      (3) AA the          attorney      general           and    the    county         or       district

18   attorney         for     an   investigation           of      whether         the   person         committed           an

19   offense        under     Section       13.007 , Election             Code,      or other         law.

20             (c) AA A list          compiled        under     this      section        may    not    be used        for    a

21   purpose        other     than    a purpose         described           by Subsection             (b)    or Section

22   15.081     or 18.068 , Election              Code.

23                      ARTICLE        2.     CONDUCT     AND SECURITY             OF ELECTIONS

24             SECTION        A 2.01. AA Section         43.031 , Election                Code,        is amended           by

25   amending         Subsection        (b)     and     adding        Subsections          (b-1)        and       (b-2)     to

26   read    as follows:

27             (b) AA Each         polling      place     shall        be located          inside           a building.




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                                                                                                                    S.B. A No. A 1

 1   Except        as provided              by Subsection              (b-1),          a polling           place    may       not     be

 2   located           in    a tent       or    similar         temporary            moveable         structure            or    in    a

 3   facility          primarily            designed          for motor          vehicles.           No voter        may cast          a

 4   vote     from           inside         a    motor        vehicle            unless        the     voter        meets           the

 5   requirements                 of Section          64.009 .

 6                (b-1) AA A polling                  place      may       be    located        in    a tent        or    similar

 7   temporary              moveable        structure          if:

 8                           (1) AA a building                selected           for    a polling           place        is     later

 9   determined              by    the    county        commissioners                court         to be not        reasonably

10   accessible              due    to fire,          flood,      or other             natural       disaster        rendering

11   the building              unsafe       for public           use;

12                           (2) AA a suitable                substitute             building         is     not    available;

13   and

14                           (3) AA the         tent     or     similar          temporary           moveable        structure

15   is adjacent              to the building                described          by Subdivision              (1).

16                (b-2) AA If             the          county          commissioners                   court         makes             a

17   determination                 described          by Subsection              (b-1)(1):

18                           (1) AA the         determination                   is     valid        only      for     the        next

19   scheduled              election;        and

20                           (2) AA the            court         shall           send          a      record          of         that

21   determination                 to the secretary              of state            as soon       as practicable.

22                SECTION         A 2.02. AA Section            61.002 , Election                   Code,     is amended              to

23   read    as follows:

24                Sec. A 61.002.          AA OPENING           AND     CLOSING          POLLING       PLACE        FOR    VOTING.

25   (a)      Immediately                before        opening         the      polls     for       voting     on    the        first

26   day     of    early           voting       and     on    election           day,      the       presiding           election

27   judge        or    alternate           election           judge         shall      confirm        that        each       voting




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                                                                                                                S.B. A No. A 1

 1   machine      has       any     public        counter         reset      to    zero        and    shall         print        the

 2   tape     that        shows     the    counter         was    set     to    zero      for      each     candidate             or

 3   measure     on the ballot.

 4             (b) AA At the             official      time       for     opening         the      polls      for     voting,

 5   an election           officer         shall     open     the     polling          place       entrance         and     admit

 6   the voters.

 7             (c) AA Immediately                  after         closing          the     polls        for      voting            on

 8   election         day,        the    presiding          election           judge      or    alternate            election

 9   judge     shall       print        the tape      to show         the number          of votes         cast      for each

10   candidate        or ballot           measure      for each         voting          machine.

11             (d) AA Each          election        judge        or alternate            election          judge      present

12   shall     sign       a tape        printed     under     this      section.

13             SECTION          A 2.03. AA Section           64.007 (c),           Election          Code,      is amended

14   to read     as follows:

15             (c) AA An election                 officer     shall       maintain            a register        of spoiled

16   ballots         at     the     polling         place,        including             spoiled        ballots            from      a

17   direct     recording           electronic         voting         unit.        An election             officer          shall

18   enter     on the        register         the    name        of each       voter      who      returns          a spoiled

19   ballot     and        the     spoiled         ballot     ’s number.                The     secretary            of     state

20   shall     create        and promulgate            a form         to be used         for this          purpose.

21             SECTION          A 2.04. AA Subchapter              A , Chapter            66 , Election              Code,        is

22   amended     by adding              Section     66.004        to read       as follows:

23             Sec. A 66.004.            AA POLLING         PLACE       CHECKLISTS.                  The    secretary             of

24   state      shall           adopt       rules       and         create         a     checklist             or     similar

25   guidelines            to     assist      the     presiding            judge         of    a     polling        place         in

26   processing            forms    and conducting               procedures             required       by this        code        at

27   the opening           and closing            of the polling           place.




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                                                                                                                        S.B. A No. A 1

 1             SECTION           A 2.05. AA Section              66.052 , Election                      Code,     is amended              to

 2   read    as follows:

 3             Sec. A 66.052.              AA DELIVERY           BY ELECTION                 CLERK;       CHAIN        OF CUSTODY.

 4   (a)      A     delivery             of    election           records             or      supplies           that       is       to   be

 5   performed           by      the     presiding          judge           may       be     performed          by     an     election

 6   clerk     designated               by the presiding                judge.

 7             (b) AA If the             presiding              judge        of a polling                place       designates              a

 8   clerk        to     deliver           election             supplies,              the      presiding              judge         shall

 9   attest        to the designation,                     and the clerk                   shall     attest       to the clerk ’s

10   acceptance             of     the     responsibility.                        The       secretary           of     state         shall

11   create        and      promulgate              a   form       to       facilitate              compliance              with      this

12   section.

13             SECTION           A 2.06. AA Section              85.005 , Election                      Code,     is amended              to

14   read    as follows:

15             Sec. A 85.005.              AA REGULAR           DAYS    AND HOURS              FOR VOTING.              (a)      Except

16   as    provided           by    Subsection             (c),         in       an   election            in    which         a county

17   clerk     [or       city       secretary]             is    the        early       voting          clerk     under        Section

18   83.002        [or      83.005 ], early               voting        by personal                appearance           at the        main

19   early     voting            polling        place       shall           be    conducted              on    each     weekday           of

20   [the    weekdays            of]     the    early       voting           period          that       is not       a legal         state

21   holiday        and      for    a period            of at least              nine        hours,      except        that      voting

22   may     not       be     conducted             earlier        than           6   a.m.         or    later         than      9    p.m.

23   [during        the       hours      that       the    county            clerk ’s or city                  secretary         ’s main

24   business          office       is regularly                open    for business.]

25             (b) AA In an election                       to which              Subsection             (a)     does     not     apply,

26   early        voting           by    personal           appearance                  at     the       main        early       voting

27   polling        place          shall       be   conducted               at    least       nine       [eight]         hours        each




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                                                                                                                               S.B. A No. A 1

 1   weekday       of the early              voting          period          that        is not a legal               state           holiday

 2   unless     the        territory           covered             by    the       election             has     fewer          than     1,000

 3   registered            voters.           In that          case,          the        voting         shall        be conducted              at

 4   least     four        [three]           hours        each          day.            The       authority               ordering           the

 5   election,            or   the     county        clerk             if    that        person           is    the       early        voting

 6   clerk,     shall          determine          which       hours          the voting                is to be conducted.

 7             (c) AA In         a    county         with          a    population                of    30,000            [100,000]           or

 8   more,     the    voting           in a primary                election              or the         general           election           for

 9   state     and        county        officers              shall          be     conducted              at       the        main     early

10   voting     polling           place        for      at    least           12    hours          on     each       weekday           of    the

11   last     week        of   the     early       voting              period,          and       the     voting          in    a special

12   election         ordered          by     the     governor                shall          be     conducted              at    the        main

13   early     voting          polling       place       for at least                    12 hours          on each          of the last

14   two    days     of the          early     voting          period.              Voting             under        this       subsection

15   may not be conducted                    earlier          than          6 a.m.       or later          than       9 p.m.           Voting

16   shall     be     conducted              in     accordance                 with          this       subsection               in     those

17   elections            in   a county           with       a population                    under        30,000          [100,000]           on

18   receipt         by    the       early        voting           clerk           of    a    written            request           for       the

19   extended         hours          submitted           by    at       least           15    registered              voters           of    the

20   county.         The       request       must       be submitted                    in time         to enable              compliance

21   with    Section           85.067 .

22             (d) AA A voter            who      has     not          voted       before           the    scheduled              time       for

23   closing        a polling           place        is entitled                  to vote           after        that      time        if the

24   voter      is        in    line     at       the        polling              place           by    closing            time.             The

25   secretary            of   state     shall          promulgate                 any       materials              and    provide           any

26   training        to presiding                 judges           necessary              to properly                process           voters

27   under     this        subsection              [In        an       election              ordered           by     a    city,        early




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 1   voting      by     personal            appearance                at    the       main        early     voting         polling

 2   place     shall     be conducted               for at least                 12 hours:

 3                      [(1) AA on            one        weekday,             if       the        early      voting         period

 4   consists       of less         than      six weekdays;                 or

 5                      [(2) AA on            two        weekdays,               if       the     early      voting         period

 6   consists       of six or more                weekdays].

 7             SECTION        A 2.07. AA Sections                   85.006 (b)             and     (e),     Election         Code,

 8   are amended         to read        as follows:

 9             (b) AA In         an     election               in     which           a     county         clerk      [or     city

10   secretary]          is      the     early           voting            clerk       under        Section         83.002        [or

11   83.005 ], only           the      early       voting           clerk     may      order       voting     on a Saturday

12   or Sunday.         The clerk            must    do so by written                      order.

13             (e) AA In a primary                  election           or the          general          election      for    state

14   and     county         officers           in        a     county         with         a     population          of     30,000

15   [100,000]         or     more,         the     early        voting           clerk          shall     order     voting        by

16   personal       appearance              [voting]           at the main             early       voting     polling        place

17   to be conducted              on the          last       Saturday         of the            early    voting      period       for

18   at least       12 hours,           except           that       voting         may     not     be conducted            earlier

19   than     6 a.m.     or later           than     9 p.m.,            [on      the      last     Saturday]         and    on the

20   last     Sunday        of    the       early            voting        period          for     at     least     six     [five]

21   hours,     except        that      voting           may    not        be conducted             earlier         than    6 a.m.

22   or later       than      9 p.m [on the last                     Sunday        of the early             voting     period].

23   The    early      voting         clerk       shall        order        voting         to be conducted                at those

24   times     in those          elections          in a county               with        a population            under     30,000

25   [100,000]         on receipt            of a written              request            for     those     hours     submitted

26   by at least        15 registered                voters           of the county.                    The request        must    be

27   submitted         in   time       to     enable           compliance             with       Section      85.007 .        This




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 1   subsection           supersedes              any    provision               of     this        subchapter             to        the

 2   extent       of any conflict.

 3               SECTION       A 2.08. AA Section                 85.010 (a-1),                Election                 Code,         is

 4   amended          to read      as follows:

 5               (a-1) AA In         this     section,              "eligible               county            polling       place"

 6   means       an    early       voting     polling             place[,        other         than        a polling            place

 7   established           under      Section       85.062 (e),]            established                   by a county.

 8               SECTION       A 2.09. AA Section             85.061 , Election                    Code,         is amended           by

 9   amending          Subsection           (a)    and       adding       Subsections               (a-1)         and    (a-2)        to

10   read    as follows:

11               (a) AA In      a countywide             election           in     which           the     county        clerk        is

12   the     early       voting         clerk       under           Section           83.002 ,            an     early      voting

13   polling          place     shall    be located               inside        [at]        each        branch     office        that

14   is regularly             maintained           for       conducting           general           clerical            functions

15   of    the    county        clerk,       except          as     provided           by    Subsection             (b).         If    a

16   suitable          room     is unavailable               inside        the    branch           office,         the    polling

17   place       may be located             in another            room    inside        the same              building      as the

18   branch       office.          Except     as provided                by Subsection                  (a-1),     the    polling

19   place       may    not     be   located        in       a tent        or    similar            temporary            moveable

20   structure          or     a   parking        garage,           parking           lot,         or    similar         facility

21   designed          primarily        for motor            vehicles.

22               (a-1) AA An early            voting         polling        place        may       be located            in a tent

23   or similar          temporary          moveable          structure           if:

24                        (1) AA a      building             selected        for        an    early            voting     polling

25   place       is    later       determined           by    the     county          commissioners                court        to    be

26   not     reasonably            accessible            due       to     fire,        flood,            or     other     natural

27   disaster          rendering        the building              unsafe        for public               use;




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                                                                                                                   S.B. A No. A 1

 1                        (2) AA a suitable               substitute             building            is    not     available;

 2   and

 3                        (3) AA the        tent     or     similar         temporary            moveable           structure

 4   is adjacent           to the building              described           by Subdivision                 (1).

 5               (a-2) AA If          the          county         commissioners                      court          makes             a

 6   determination            described           by Subsection              (a-1)(1):

 7                        (1) AA the         determination               is       valid         only        for         the     next

 8   scheduled           election;        and

 9                        (2) AA the            court          shall         send          a         record             of      that

10   determination            to the secretary                 of state          as soon       as practicable.

11               SECTION      A 2.10. AA Section            85.062 , Election                   Code,        is amended              by

12   amending        Subsection             (b)    and     adding        Subsections                 (b-1),        (b-2),           and

13   (f-1)       to read      as follows:

14               (b) AA A polling            place        established              under       this        section            may    be

15   located,        subject         to     Subsection           (d),       at    any    place        in    the     territory

16   served       by the      early       voting        clerk     and    may       be located             inside         [in]       any

17   building            [stationary            structure]             as        directed            by    the      authority

18   establishing             the    branch        office.         Except          as provided              by     Subsection

19   (b-1),        the     [The]      polling           place     may       not     be     located           in     a    tent        or

20   similar        temporary         movable           structure           or     a parking              garage,        parking

21   lot,       or similar          facility        designed           primarily           for       motor        vehicles           in

22   the general           election         for state          and county           officers,             general        primary

23   election,           or   runoff         primary        election.               Ropes        or        other        suitable

24   objects       may     be used        at the        polling         place      to ensure              compliance            with

25   Section       62.004 .         Persons         who    are    not       expressly           permitted           by law           to

26   be    in    a polling          place       shall     be    excluded           from        the    polling           place        to

27   the extent          practicable.




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                                                                                                                       S.B. A No. A 1

 1             (b-1) AA A temporary                branch        polling              place       may       be    located           in a

 2   tent    or similar          temporary         moveable           structure             if:

 3                        (1) AA a building            selected            for    a temporary                branch        polling

 4   place     is    later       determined         by     the    county          commissioners                    court        to    be

 5   not     reasonably           accessible           due     to      fire,           flood,          or       other      natural

 6   disaster       rendering           the building          unsafe            for public            use;

 7                        (2) AA a suitable              substitute              building             is     not       available;

 8   and

 9                        (3) AA the       tent     or     similar          temporary             moveable              structure

10   is adjacent           to the building             described            by Subdivision                  (1).

11             (b-2) AA If           the          county          commissioners                        court             makes         a

12   determination              described        by Subsection               (b-1)(1):

13                        (1) AA the       determination                   is     valid           only           for     the        next

14   scheduled           election;       and

15                        (2) AA the           court         shall           send           a         record             of         that

16   determination              to the secretary             of state            as soon         as practicable.

17             (f-1) AA Notwithstanding                    any        other       provision                of     this     section

18   concerning           the    location         of temporary               branch         polling              places,        in an

19   election            in     which      countywide               polling             places              are        used,         the

20   commissioners              court     of a county            shall          employ          the     same       methodology

21   it    uses     to    determine        the     location           of     countywide               polling           places        to

22   determine           the location          of temporary            branch          polling          places.

23             SECTION         A 2.11. AA Section          124.002          , Election            Code,          is amended           by

24   adding       Subsection         (c) to read           as follows:

25             (c) AA Voting            system      ballots           may       not    be     arranged             in    a manner

26   that     allows          a political         party ’s candidates                       to    be       selected            in    one

27   motion       or gesture.




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                                                                                                          S.B. A No. A 1

 1             SECTION        A 2.12. AA Section             127.1232      , Election          Code,      is     amended

 2   to read      as follows:

 3             Sec. A 127.1232.              AA SECURITY        OF VOTED         BALLOTS.        (a)     The     general

 4   custodian          of    election         records        shall      post     a licensed           peace     officer

 5   [guard]       to      ensure        the     security        of    ballot       boxes      containing            voted

 6   ballots      throughout             the period          of tabulation          at the central             counting

 7   station.

 8             (b) AA The         general             custodian           of      election        records            shall

 9   implement          a video        surveillance             system     that     retains       a record        of all

10   areas     containing            voted     ballots:

11                         (1) AA from         the    time      the    voted      ballots      are      delivered        to

12   the central           counting          station     until        the canvass         of precinct          election

13   returns;        and

14                         (2) AA from         the    time      the    voted      ballots      are      delivered        to

15   the    signature          verification             committee         or early        voting        ballot       board

16   until     the canvass           of precinct          election         returns.

17             (c) AA A video             from       a system     implemented            under     Subsection           (b)

18   shall     be made        available          to the public           by a livestream.

19             (d) AA The        video        recorded        is an election             record        under     Section

20   1.012     and      shall       be    retained        by     the     general        custodian        of    election

21   records      until        the     end     of the     calendar         year     in which        an election          is

22   held    or    until        an       election        contest         filed     in    the     county        has     been

23   resolved,        whichever           is later.

24                           ARTICLE      3.     ELECTION        OFFICERS        AND OBSERVERS

25             SECTION        A 3.01. AA Subchapter               A , Chapter           33 , Election          Code,     is

26   amended      by adding          Section          33.0015     to read        as follows:

27             Sec. A 33.0015.            AA REFERENCES           TO     EARLY     VOTING        BALLOT        BOARD     IN




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                                                                                                                  S.B. A No. A 1

 1   THIS    CHAPTER.        A reference              in this          chapter        to an early           voting       ballot

 2   board     includes       a signature             verification              committee.

 3             SECTION      A 3.02. AA Subchapter                   A , Chapter             33 , Election              Code,     is

 4   amended        by adding       Section          33.008        to read       as follows:

 5             Sec. A 33.008.           AA TRAINING             MANUAL.        (a)      The        secretary           of state

 6   shall     publish       and    maintain              a training          manual        for    watchers        and    shall

 7   make     the     manual        available              on    the        secretary         of     state ’s          Internet

 8   website.

 9             (b) AA An        appointing                authority            must     provide             each        watcher

10   appointed         by    the        authority           with        a    copy      of    the        training         manual

11   maintained         under      this      section.

12             SECTION      A 3.03. AA Section                  33.051 , Election                 Code,     is amended           by

13   adding     Subsections             (g) and (h) to read                   as follows:

14             (g) AA An     election           officer           commits        an     offense           if    the     officer

15   intentionally           or knowingly                 refuses       to accept           a watcher            for    service

16   when     acceptance           of    the        watcher        is       required        by     this        section.          An

17   offense        under   this        subsection           is a Class          A misdemeanor.

18             (h) AA Before         accepting             a watcher,          the officer              presented         with    a

19   watcher        ’s certificate             of    appointment              shall     require           the     watcher        to

20   take     the    following          oath,        administered              by the       officer:            "I swear       (or

21   affirm)        that    I will       not    disrupt           the   voting        process           or harass        voters

22   in the discharge              of my duties."

23             SECTION      A 3.04. AA Section                  33.056 , Election                 Code,     is amended           by

24   amending        Subsection           (a)       and    adding       Subsections               (e)     and    (f)    to read

25   as follows:

26             (a) AA Except            as     provided           by        Section         33.057 ,        a    watcher         is

27   entitled        to observe          any    activity           conducted           at the       location           at which




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                                                                                                                  S.B. A No. A 1

 1   the     watcher         is       serving.         A    watcher          is    entitled           to    sit      or    stand

 2   [conveniently]                near      enough        to    see     and      hear    the       election         officers

 3   conducting         the observed               activity,           except      as otherwise             prohibited         by

 4   this    chapter.

 5                (e) AA Except            as provided           by Section           33.057 (b),           a watcher         may

 6   not     be    denied         free      movement        where        election         activity           is     occurring

 7   within       the location              at which       the watcher            is serving.

 8                (f) AA In this           code,     a watcher           who      is entitled          to "observe"            an

 9   election        activity            is entitled            to sit or stand              near    enough        to see and

10   hear    the activity.

11                SECTION    A 3.05. AA Subchapter                 C , Chapter            33 , Election              Code,     is

12   amended        by adding          Section       33.0605        to read         as follows:

13                Sec. A 33.0605.           AA OBSERVING          DATA       STORAGE         SEALING        AND     TRANSFER.

14   (a) AA A watcher             appointed         to serve           at a polling           place        in an election

15   who    is available              at the       time    of the        action        may    observe        all     election

16   activities            relating          to     closing        the       polling         place,        including          the

17   sealing        and transfer             of a memory          card,        flash     drive,       hard        drive,     data

18   storage        device,           or    other      medium          now     existing         or     later        developed

19   used    by the voting               system      equipment.

20                (b) AA Notwithstanding                   any     other          provision           of    this      code,     a

21   watcher        duly     accepted         for     service          at a polling           location         is entitled

22   to follow        the     transfer            of election          materials          from       the    polling        place

23   at which        the     watcher         was    accepted           to a regional               tabulating         center,

24   the    central         counting          station,           or any       other      location           designated         to

25   process         election               materials.                 The      authority             responsible             for

26   administering                a    regional        tabulating              center         or     another         location

27   where        election        materials          are    processed             must       accept        duly     appointed




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                                                                                                                  S.B. A No. A 1

 1   watchers      for    service          in    the     same       manner         a watcher           is     accepted         for

 2   service      under        Section       33.051           and     must     accept           the     same       number        of

 3   watchers     that        may serve         under    Section           33.007 (a).

 4             SECTION     A 3.06. AA Section             33.061 (a),              Election           Code,       is amended

 5   to read     as follows:

 6             (a) AA A person           commits         an    offense         if       the    person         serves      in     an

 7   official     capacity          at a location              at which        the presence              of watchers             is

 8   authorized          and    knowingly              prevents         a     watcher            from       observing            an

 9   activity      or    procedure          the    person           knows      the       watcher         is    entitled          to

10   observe,      including          by    taking        any       action         to    obstruct           the    view     of    a

11   watcher     or distance          the watcher              from    the activity               or procedure              to be

12   observed      in     a    manner      that         would        make     observation               not       reasonably

13   effective.

14             SECTION     A 3.07. AA Subchapter                    C , Chapter           33 , Election             Code,        is

15   amended     by adding          Section       33.063        to read        as follows:

16             Sec. A 33.063.        AA RELIEF.               (a)      A     watcher,            or     the       appointing

17   authority          for     a    watcher,            who        believes            that      the         watcher          was

18   unlawfully         prevented          or     obstructed                from        the     performance            of      the

19   watcher     ’s duties       may seek:

20                      (1) AA injunctive                  relief             under             Section             273.081       ,

21   including      issuance         of temporary              orders;

22                      (2) AA a      writ        of      mandamus            under            Section         161.009           or

23   273.061    ; and

24                      (3) AA any other           remedy           available           under     law.

25             (b) AA The       relief      provided            by    this     section           is     available           to    a

26   state     inspector         appointed          under           Chapter        34     or    any     other       election

27   inspector      authorized           by law.




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                                                                                                              S.B. A No. A 1

 1             SECTION         A 3.08. AA Section          86.006 , Election                  Code,        is amended        by

 2   amending        Subsection              (a)    and     adding        Subsection            (a-2)         to     read    as

 3   follows:

 4             (a) AA A         marked        ballot       voted         under         this         chapter         must     be

 5   returned         to        the     early       voting        clerk        in       the     official             carrier

 6   envelope.              The        carrier       envelope           may      be     delivered             in     another

 7   envelope        and must          be transported          and delivered                 only    by:

 8                      (1) AA mail;

 9                      (2) AA common            or contract           carrier;         or

10                      (3) AA subject              to     Subsections              [Subsection]                 (a-1)      and

11   (a-2),     in-person             delivery      by the voter           who voted           the ballot.

12             (a-2) AA An in-person                 delivery           of a marked            ballot        voted       under

13   this    chapter           must    be received         by an election              official         at the time          of

14   delivery.          The       receiving         official           shall      record        the        voter ’s name,

15   signature,            and        type    of     identification                 provided           under         Section

16   63.0101      on       a    roster       prescribed           by     the   secretary              of    state.          The

17   receiving         official           shall      attest       on     the     roster         that       the      delivery

18   complies        with       this    section.

19             SECTION         A 3.09. AA Section          87.002 , Election                  Code,        is amended        to

20   read    as follows:

21             Sec. A 87.002.           AA COMPOSITION            OF    BOARD.          (a) AA The         early      voting

22   ballot     board          consists       of a presiding             judge,        an alternate              presiding

23   judge,     and at least             one [two]        other     member       [members].

24             (b) AA Except            as    provided         by      Subsection             (d),     the       presiding

25   judge     and     the      alternate          presiding           judge     are    [is]        appointed         in    the

26   same     manner       as     a presiding            election        judge        and     alternate            presiding

27   election        judge,           respectively.            Except          as      provided        by     Subsection




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 1   (c),     each     [the]         other        member        is       [members         are]           appointed           by    the

 2   presiding        judge        in the same           manner          as the precinct                 election        clerks.

 3             (c) AA In the             general         election         for     state        and       county        officers,

 4   each    county        chair     of a political                 party        with    nominees             on the      general

 5   election        ballot        shall        submit        to the      county        election           board        a list      of

 6   names     of persons           eligible           to serve          on the     early          voting        ballot        board

 7   in    order      of     the    county         chair ’s         preference.                 The       county        election

 8   board     shall       appoint         at least        one person            from     each        list       to serve         as a

 9   member     of the early              voting       ballot        board.        The same              number       of members

10   must     be appointed               from    each     list.           The    county        election              board     shall

11   appoint       persons         as members            of the          early     voting          ballot        board        in the

12   order     of preference              indicated            on each      list.

13             (d) AA In         addition         to     the    members           appointed              under        Subsection

14   (c),    the     county        election        board        shall       appoint           as the       presiding           judge

15   the     highest-ranked               person         on    [from]       the     list        provided              under       that

16   subsection            by      the     political            party           whose         nominee           for     governor

17   received          the       most       votes         in        the     county            in        the      most         recent

18   gubernatorial              general         election        and as the alternate                       presiding           judge

19   the      highest-ranked                    person         on     the        list         provided               under        that

20   subsection            by      the     political            party           whose         nominee           for     governor

21   received        the        second      most       votes        in     the    county           in     the     most        recent

22   gubernatorial              general         election.

23             SECTION       A 3.10. AA Sections                87.027 (d)              and    (e),           Election         Code,

24   are amended           to read        as follows:

25             (d) AA The          early        voting        clerk       shall         determine              the     number       of

26   members       who are to compose                  the signature               verification                 committee          and

27   shall     state       that      number         in    the       order        calling           for     the       committee       ’s




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                                                                                                                                 S.B. A No. A 1

 1   appointment.                    A    committee                 must        consist           of     not        fewer         than        five

 2   members.             In    an       election             in    which        party        alignment              is    indicated            on

 3   the ballot,              each       county          chair        of a political                party       with           a nominee        or

 4   aligned         candidate                 on      the      ballot          shall         submit           to        the     appointing

 5   authority            a     list          of       names        of     persons          eligible                to     serve        on     the

 6   signature            verification                    committee             in     order        of    the            county        chair ’s

 7   preference.                The      authority                 shall       appoint        at least              two        persons        from

 8   each     list    in the order                     of preference                 indicated           on each           list     to serve

 9   as     members        of     the         committee.                  The     same      number         of        members           must     be

10   appointed            from        each          list.           The     authority              shall        appoint            as     [the]

11   chair     of the          committee                the    highest-ranked                  person          on [from]            the       list

12   provided         by the political                        party        whose       nominee           for governor              received

13   the     most      votes             in     the          county        in     the       most         recent           gubernatorial

14   general        election.                 The       authority           shall        appoint          as vice              chair     of the

15   committee            the     highest-ranked                         person        on     the       list        provided             by    the

16   political         party          whose            nominee          for governor              received           the second               most

17   votes      in        the        county             in     the       most         recent           gubernatorial                   general

18   election.         A vacancy                on the         committee              shall       be filled              by appointment

19   from      the        original                 list        or       from      a     new       list         submitted               by      the

20   appropriate               county          chair.

21             (e) AA To          be          eligible             to     serve        on     a    signature               verification

22   committee,            a person                 must      be     eligible           under          Subchapter                C , Chapter

23   32 ,    for     service              as       a    presiding              election           judge,            except         that        the

24   person        must       be a qualified                   voter:

25                            (1) AA of the              county,           in a countywide                 election              ordered        by

26   the governor              or a county                 authority            or in a primary                 election;

27                            (2) AA of the              part       of the        county          in which           the        election        is




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 1   held,     for      an election        ordered           by the         governor         or a county             authority

 2   that    does       not cover       the entire           county          of the person           ’s residence;              or

 3                        (3) AA of       the      political                subdivision,             in        an      election

 4   ordered        by    an    authority          of    a    political              subdivision            other          than      a

 5   county.

 6             SECTION         A 3.11. AA Chapter             121 ,         Election         Code,        is     amended          by

 7   adding     Section         121.004     to read           as follows:

 8             Sec. A 121.004.           AA COMMUNICATIONS                    WITH      VOTING        SYSTEMS              VENDOR

 9   PUBLIC     INFORMATION.                Except           as    provided           by     Sections           552.110          and

10   552.1101       ,    Government         Code,         a       written           letter,        e-mail,            or     other

11   communication,               including         a        communication                  made     confidential                 by

12   other     law,      between        a public        official            and a voting           systems          vendor:

13                        (1) AA is not confidential;

14                        (2) AA is public          information                for     purposes        of Chapter               552 ,

15   Government          Code;     and

16                        (3) AA is       not     subject              to     an     exception            to        disclosure

17   provided        by Chapter          552 , Government                Code.

18             SECTION         A 3.12. AA Sections            127.006          (a)     and    (c),     Election              Code,

19   are amended          to read       as follows:

20             (a) AA The        [Both     the]     manager,                [and]     the     presiding             judge,       and

21   the     alternate          presiding         judge        may      appoint         clerks        to       serve       at    the

22   central     counting          station.

23             (c) AA A        clerk      appointed               by    the         manager        serves           under        the

24   manager     and      shall     perform        the       functions             directed        by the       manager.             A

25   clerk     appointed          by the        presiding              judge       or the      alternate             presiding

26   judge      serves          under      the     presiding                judge      and      shall          perform           the

27   functions          directed        by the presiding                 judge.




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 1             SECTION    A 3.13. AA Subchapter                  A , Chapter           127 , Election                Code,         is

 2   amended     by adding        Section           127.009       to read        as follows:

 3             Sec. A 127.009.         AA ELECTRONIC                  DEVICES          IN        CENTRAL             COUNTING

 4   STATION.      (a)      A counting           station         manager         and the presiding                    judge        of

 5   the     counting       station           shall        develop        a     protocol           under           which       any

 6   electronic          device         inside         a    central           counting             station            that         is

 7   necessary      to count           votes        is equipped          with        software        that          tracks      all

 8   input     and activity        on the electronic                    device.

 9             (b) AA The    counting           station          manager        and    the       presiding            judge        of

10   the     counting       station           shall        ensure        that        the     input        and        activity

11   tracked     by the software               is printed             and delivered              to the secretary                  of

12   state     not later        than    the fifth          day after          vote     counting           is complete.

13             (c) AA This       section        applies          only     to a central             counting              station

14   located     in a county           with    a population              of 250,000           or more.

15             SECTION    A 3.14. AA Section                127.1301       , Election              Code,        is       amended

16   to read     as follows:

17             Sec. A 127.1301.          AA [TALLYING,                  TABULATING,                AND          REPORTING]

18   CENTRALLY         COUNTED         OPTICAL            SCAN        BALLOTS        [BALLOT         UNDERVOTES                AND

19   OVERVOTES].          (a)      In     an     election             using     centrally           counted              optical

20   scan     ballots,      the    undervotes              and    overvotes            on    those       ballots             shall

21   be     tallied,      tabulated,                and     reported            by     race        and        by     election

22   precinct      in     the     form        and     manner          prescribed            by    the     secretary                of

23   state.

24             (b) AA After       January           1, 2024,          an authority           operating              a central

25   counting      station         under        this        chapter           may     not        purchase           or       use     a

26   centrally         counted         optical         ballot          scan      system           that        uses       a    data

27   storage      disc      on    which        information,               once       written,            is    capable             of




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 1   being     modified.

 2             SECTION     A 3.15. AA Section            127.131          , Election         Code,       is amended           by

 3   adding     Subsection         (f) to read           as follows:

 4             (f) AA The       presiding          judge        of        the     central         counting           station

 5   shall     provide      and     attest       to     a written            reconciliation               of    votes        and

 6   voters     at the      close       of tabulation               for     election        day     and    again        after

 7   the     central     counting         station            meets        for     the    last      time        to    process

 8   late-arriving           ballots         by       mail          and     provisional              ballots.                The

 9   secretary         of state     shall        create        and        promulgate         rules       and    a form        to

10   facilitate         compliance          with        this        subsection.              The      form          shall     be

11   posted     on     a website         maintained            by    the        county    along        with         election

12   returns     and results.

13             SECTION     A 3.16. AA Section            129.023          , Election         Code,       is amended           by

14   adding     Subsections         (b-2)       and (c-1)           to read        as follows:

15             (b-2) AA If        the    test      is    being            conducted         for     an    election            in

16   which     a county      election            board        has    been        established           under         Section

17   51.002 , the general               custodian        of election               records      shall      notify           each

18   member     of the     board        of the    test       at least            48 hours     before       the       date     of

19   the test.         If the county         election           board        chooses      to witness            the test,

20   each    member     shall     sign     the statement              required           by Subsection               (e)(1).

21             (c-1) AA A test          conducted            under        this    section       must      also       require

22   the    general      custodian         of election               records        to    demonstrate,               using     a

23   representative          sample        of voting           system            equipment,        that        the    source

24   code    of the equipment            has not been               altered.

25                                       ARTICLE        4.     VOTING        BY MAIL

26             SECTION     A 4.01. AA Section            84.001 (b),              Election        Code,        is amended

27   to read     as follows:




                                                               24
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 1              (b) AA An application               must     be submitted               in writing            and    signed

 2   by   the    applicant        using       ink    on     paper.         An     electronic            signature          or

 3   photocopied          signature         is not permitted.

 4              SECTION    A 4.02. AA Subchapter                 A , Chapter            84 , Election             Code,    is

 5   amended      by adding      Section          84.0011        to read       as follows:

 6              Sec. A 84.0011.       AA SOLICITATION               OF    BALLOT         BY    MAIL     APPLICATIONS

 7   PROHIBITED.          The early         voting     clerk        may make         no attempt          to solicit           a

 8   person      to   complete         an    application            for      an      early      voting         ballot      by

 9   mail,      whether     directly        or through           a third       party.

10              SECTION    A 4.03. AA Section              84.002 , Election                  Code,     as     effective

11   September        1, 2021,        is amended        by amending             Subsection            (a)     and    adding

12   Subsection        (b-1)     to read      as follows:

13              (a) AA An early        voting       ballot        application            must    include:

14                     (1) AA the       applicant          ’s name       and      the    address        at which          the

15   applicant        is registered          to vote;

16                     (1-a) AA the following                    information:

17                               (A) AA the         number          of     the          applicant        ’s       driver     ’s

18   license,         election           identification                   certificate,                 or         personal

19   identification            card    issued       by the Department                 of Public         Safety;

20                               (B) AA if the         applicant          has     not     been    issued          a number

21   described        by Paragraph           (A),    the     last     four      digits         of the       applicant        ’s

22   social      security      number;       or

23                               (C) AA a       statement            by        the       applicant             that       the

24   applicant        has not been          issued     a number          described            by Paragraph            (A) or

25   (B);

26                     (2) AA for an application                    for a ballot              to be voted           by mail

27   on the      ground     of absence          from       the    county       of residence,                the     address




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 1   outside        the     applicant            ’s county          of residence            to which             the     ballot      is

 2   to be mailed;

 3                         (3) AA for an application                        for a ballot                to be voted           by mail

 4   on   the      ground        of       age    or    disability,               the    address            of    the     hospital,

 5   nursing         home        or       other        long-term             care       facility,               or      retirement

 6   center,        or     of    a person             related        to    the    applicant               within        the   second

 7   degree         by     affinity              or        the     third      degree           by       consanguinity,               as

 8   determined           under       Chapter              573 , Government             Code,        if the          applicant       is

 9   living        at     that        address           and       that      address        is        different            from     the

10   address        at which          the applicant                is registered           to vote;

11                         (4) AA for an application                        for a ballot                to be voted           by mail

12   on the ground              of confinement                   in jail,     the address               of the jail           or of a

13   person        related           to     the       applicant            within        the        degree          described        by

14   Subdivision           (3);

15                         (5) AA for an application                        for a ballot                to be voted           by mail

16   on     any     ground,           an        indication            of     each        election               for     which      the

17   applicant           is applying             for a ballot;

18                         (6) AA an        indication               of     the     ground           of       eligibility          for

19   early      voting;         and

20                         (7) AA for an application                        for a ballot                to be voted           by mail

21   on   the      ground       of    involuntary                 civil      commitment,                the     address       of   the

22   facility            operated           by        or     under         contract        with           the         Texas      Civil

23   Commitment           Office          or of a person             related           to the applicant                 within     the

24   degree       of consanguinity                    described           by Subdivision                (3).

25                (b-1) AA A      person          may        use     the     number       of        a     driver       ’s license,

26   election            identification                    certificate,            or    personal               identification

27   card    that        has    expired          for       the    purpose        of fulfilling                the     requirement




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                                                                                                           S.B. A No. A 1

 1   under      Subsection          (a)(1-a)        if      the     license           or     identification                 is

 2   otherwise      valid.

 3              SECTION    A 4.04. AA Section               84.011 (a),                Election            Code,            as

 4   effective      September         1, 2021,          is amended        to read          as follows:

 5              (a) AA The     officially         prescribed            application           form      for      an early

 6   voting     ballot     must     include:

 7                      (1) AA immediately               preceding             the     signature           space           the

 8   statement:           "I    certify           that      the         information               given         in        this

 9   application          is true,       and I understand               that    giving        false       information

10   in this     application         is a crime.";

11                      (2) AA a     statement             informing             the        applicant             of       the

12   offenses      prescribed         by Sections           84.003       and 84.004 ;

13                      (3) AA spaces             for      entering              an        applicant        ’s         voter

14   registration          number        and    county      election           precinct        of registration,

15   with      a statement         informing        the     applicant            that       failure        to     furnish

16   that    information        does       not invalidate              the application;

17                      (3-a) AA a       space      for     entering           the     information              required

18   under     Section     84.002 (a)(1-a);               and

19                      (4) AA on an application                  for a ballot             to be voted          by mail:

20                                (A) AA a      space      for     an     applicant            applying              on    the

21   ground      of absence        from     the    county       of residence            to indicate              the      date

22   on   or    after     which      the       applicant         can    receive         mail       at   the       address

23   outside      the county;

24                                (B) AA a      space      for      indicating              the     fact         that       an

25   applicant       whose      application             is signed        by a witness             cannot         make      the

26   applicant      ’s mark        and     a    space     for     indicating            the       relationship              or

27   lack    of relationship             of the witness           to the applicant;




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                                                                                                                       S.B. A No. A 1

 1                                 (C) AA a space             for entering                an applicant                ’s telephone

 2   number,     with        a statement               informing              the       applicant             that     failure         to

 3   furnish     that    information                 does     not invalidate                   the application;

 4                                 (D) AA a space             or     box          for    an    applicant              applying         on

 5   the     ground     of    age     or    disability                  to    indicate              that        the    address         to

 6   which     the    ballot        is     to    be     mailed           is    the       address           of    a facility            or

 7   relative        described        by Section              84.002 (a)(3),                  if applicable;

 8                                 (E) AA a space             or     box          for    an    applicant              applying         on

 9   the    ground     of     confinement              in     jail       or involuntary                    civil       commitment

10   to indicate        that       the     address           to which             the    ballot          is to be mailed               is

11   the    address     of a relative                 described              by Section             84.002 (a)(4)             or (7),

12   if applicable;

13                                 (F) AA a          space        for        an     applicant              applying            on     the

14   ground     of    age     or    disability               to     indicate             if    the       application            is     an

15   application         under      Section           86.0015        ;

16                                 (G) AA spaces              for       entering              the    signature,               printed

17   name,     and residence             address        of any person                   assisting             the applicant;

18                                 (H) AA a          statement           informing              the      applicant             of     the

19   condition        prescribed           by Section             81.005 ; and

20                                 (I) AA a          statement           informing              the      applicant             of     the

21   requirement         prescribed             by Section              86.003 (c).

22             SECTION       A 4.05. AA Subchapter                   A , Chapter               84 , Election                 Code,     is

23   amended     by adding          Section           84.0111        to read            as follows:

24             Sec. A 84.0111.           AA DISTRIBUTION                      OF        APPLICATION                  FORM.            (a)

25   Except     as provided           by Subsection                  (c)       or as otherwise                   authorized            by

26   this     code,     an    officer           or    employee           of       this     state         or     of    a political

27   subdivision         of    this        state        may       not     distribute                an     application               form




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 1   for     an     early       voting        ballot        to     a    person           who      did       not        request          an

 2   application            under     Section       84.001 .

 3                (b) AA An     officer       or    employee            of       this     state        or    of    a political

 4   subdivision            of this      state      may not use public                        funds     to facilitate               the

 5   distribution              by another          person        of an application                      form      for     an early

 6   voting        ballot       to a person          who     did       not       request         an application                 under

 7   Section        84.001 .

 8                (c) AA A      political           party         or      a        candidate             for       office           may

 9   distribute           an    application            form        for        an       early      voting          ballot           to    a

10   person       who did not request                an application                     under     Section         84.001 .

11                SECTION      A 4.06. AA Section            84.032 (c),                Election         Code,         is amended

12   to read       as follows:

13                (c) AA An     applicant           may     submit           a    request         after          the     close          of

14   early     voting        by personal           appearance           by appearing                  in person          and:

15                        (1) AA returning             the       ballot           to     be     voted       by     mail       to    the

16   early     voting        clerk;      or

17                        (2) AA executing           an affidavit                  that       the applicant:

18                                  (A) AA has       not     received              the        ballot        to     be    voted          by

19   mail;     [or]

20                                  (B) AA never          requested              a ballot         to be voted             by mail;

21   or

22                                  (C) AA received              notice            of     a     defect        under        Section

23   87.0271(b)         or 87.0411(b).

24                SECTION      A 4.07. AA Section            84.035 , Election                    Code,          is amended             to

25   read    as follows:

26                Sec. A 84.035.       AA BALLOT          SENT     TO    APPLICANT.                   (a)         If    the     early

27   voting       clerk      cancels      an application                 by an applicant                    to whom       an early




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 1   voting     ballot       has been        sent,        the clerk           shall:

 2                        (1) AA remove         the       applicant          ’s name      from     the     early           voting

 3   roster;     and

 4                        (2) AA make      any       other      entries         in the         records     and         take    any

 5   other     action       necessary         to prevent               the    ballot       from    being            counted     if

 6   returned.

 7             (b) AA An      election          judge        may    permit          a person       to     whom        an     early

 8   voting     ballot        has     been      sent       who     cancels          the       person     ’s application

 9   for    a ballot        to be voted          by mail           in accordance                with     Section           84.032

10   but     fails     to    return       the     ballot           to    be    voted       by    mail      to        the     early

11   voting      clerk,        deputy        early         voting        clerk,          or     presiding             judge     as

12   provided        by     that    section          to    vote        only     a provisional              ballot            under

13   Section     63.011 .

14             SECTION       A 4.08. AA Section              86.001 , Election                  Code,     is amended            by

15   adding     Subsection          (f) to read            as follows:

16             (f) AA If           the          information                   required                 under            Section

17   84.002 (a)(1-a)           included          on       the     application             does     not     identify            the

18   same     voter       identified            on     the      applicant           ’s   application                for      voter

19   registration           under     Section         13.002 (c)(8),                the clerk          shall        reject     the

20   application.

21             SECTION       A 4.09. AA Section              86.002 , Election                  Code,     is amended            by

22   adding     Subsections           (g),      (h),      and (i) to read                as follows:

23             (g) AA The carrier            envelope             must       include      a space        that        is hidden

24   from     view    when     the       envelope          is     sealed       for       the    voter      to        enter     the

25   following        information:

26                        (1) AA the       number            of        the     voter ’s          driver        ’s     license,

27   election        identification               certificate,                 or    personal           identification




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                                                                                                               S.B. A No. A 1

 1   card    issued     by the Department                of Public          Safety;

 2                      (2) AA if the voter              has not been            issued          a number          described

 3   by     Subdivision         (1),     the      last        four     digits          of       the     voter ’s      social

 4   security       number;      or

 5                      (3) AA a      statement          by    the     applicant                that     the       applicant

 6   has not been           issued     a number        described        by Subdivision                  (1) or (2).

 7             (h) AA A      person      may      use        the     number        of       a    driver       ’s    license,

 8   election        identification             certificate,                or    personal              identification

 9   card    that     has    expired      for     purposes           of Subsection               (g)    if the       license

10   or identification               is otherwise            valid.

11             (i) AA No record          associating               an individual                voter     with      a ballot

12   may be created.

13             SECTION       A 4.10. AA Section          86.011 (c),             Election             Code,    is amended

14   to read       as follows:

15             (c) AA If      the    return       is    not    timely,           the    clerk          shall       enter   the

16   time     of   receipt      on     the    carrier         envelope           and    retain          it    in    a locked

17   container         for     the     period          for     preserving              the       precinct           election

18   records.         The      clerk     shall         destroy        the     unopened            envelope           and   its

19   contents       after     the preservation                period.

20             SECTION       A 4.11. AA Section               86.015 (c),               Election               Code,        as

21   effective        September        1, 2021,         is amended          to read          as follows:

22             (c) AA An online          tool     used       under     this      section          must:

23                      (1) AA for each         election,            record:

24                                  (A) AA each    application              for    a ballot             to be voted         by

25   mail    received        by the clerk;         and

26                                  (B) AA each    carrier           envelope           sent      to a voter          by the

27   clerk;




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 1                      (2) AA for         each       carrier            envelope,         record        or     assign      a

 2   serially      numbered              and    sequentially                issued        barcode        or     tracking

 3   number     that    is unique          to each       envelope;             [and]

 4                      (3) AA update           the    applicable              Internet        website        as soon     as

 5   practicable         after      each       of the following                events     occurs:

 6                                 (A) AA receipt             by     the       early     voting        clerk       of    the

 7   person    ’s application              for a ballot            to be voted          by mail;

 8                                 (B) AA acceptance               or     rejection        by    the     early     voting

 9   clerk    of the person          ’s application                for a ballot          to be voted           by mail;

10                                 (C) AA placement                in    the     mail     by    the     early      voting

11   clerk    of the person          ’s official            ballot;

12                                 (D) AA receipt             by     the       early     voting        clerk       of    the

13   person    ’s marked         ballot;       and

14                                 (E) AA acceptance               or     rejection        by    the     early     voting

15   ballot     board       of a person         ’s marked          ballot;       and

16                      (4) AA allow            a     voter        to      add     or     correct         information

17   required     under          Section       84.002 (a)(1-a)              or Section          86.002 (g).

18             SECTION       A 4.12. AA Section             87.027 (i),          Election        Code,        is amended

19   to read     as follows:

20             (i) AA The        signature           verification              committee        shall     compare        the

21   signature     on each          carrier          envelope           certificate,        except       those     signed

22   for   a voter       by a witness,               with     the       signature       on the         voter ’s ballot

23   application            to   determine           whether         the    signatures           are    those      of    the

24   voter. AA The          committee          may     also        compare        the     signatures            with     any

25   known    signature           [two     or more       signatures]             of the        voter     [made     within

26   the   preceding         six    years       and]     on file          with    the    county        clerk     or voter

27   registrar         to    determine              whether        the     signatures           are     those      of    the




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                                                                                                                  S.B. A No. A 1

 1   voter. AA Except             as provided         by Subsection               (l),     a determination                      under

 2   this    subsection            that     the    signatures           are      not     those      of the           voter       must

 3   be     made     by     a    majority         vote      of    the      committee           ’s    membership.                AA The

 4   committee        shall        place     the     jacket       envelopes,             carrier           envelopes,             and

 5   applications               of voters     whose         signatures            are    not     those          of the          voter

 6   in   separate          containers            from     those      of        voters     whose        signatures                are

 7   those     of    the        voter. AA The       committee           chair         shall      deliver          the       sorted

 8   materials        to the        early     voting        ballot         board       at the       time        specified           by

 9   the board ’s presiding                 judge.

10             SECTION          A 4.13. AA Subchapter             B , Chapter             87 , Election                Code,        is

11   amended        by adding        Section        87.0271        to read         as follows:

12             Sec. A 87.0271.            AA OPPORTUNITY              TO    CORRECT            DEFECT:                SIGNATURE

13   VERIFICATION               COMMITTEE.           (a)         This       section           applies           to    an        early

14   voting        ballot       voted     by mail:

15                        (1) AA for        which        the      voter          did     not        sign        the        carrier

16   envelope        certificate;

17                        (2) AA for        which        it      cannot          immediately               be     determined

18   whether        the     signature        on the         carrier         envelope           certificate                 is    that

19   of the voter;

20                        (3) AA missing           any required            statement           of residence;

21                        (4) AA missing             information                 or      containing                   incorrect

22   information                required      under           Section           84.002 (a)(1-a)                  or        Section

23   86.002 ; or

24                        (5) AA containing              incomplete             information           with           respect        to

25   a witness.

26             (b) AA Before            deciding         whether           to    accept        or     reject           a    timely

27   delivered         ballot        under        Section        87.027 , the            signature           verification




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 1   committee        may:

 2                      (1) AA return         the       carrier           envelope         to the         voter       by mail,

 3   if the signature             verification               committee          determines              that       it would      be

 4   possible      to      correct         the     defect           and       return        the     carrier           envelope

 5   before     the time         the polls        are required                to close         on election            day;      or

 6                      (2) AA notify            the        voter        of   the      defect        by       telephone          or

 7   e-mail     and     inform       the    voter           that        the   voter        may    come        to     the    early

 8   voting     clerk ’s office            in person          to:

 9                                (A) AA correct             the defect;             or

10                                (B) AA request              to     have       the       voter ’s       application             to

11   vote    by mail       canceled        under       Section           84.032 .

12            (c) AA If the         signature            verification                committee           takes       an action

13   described        by Subsection              (b),       the     committee          must       take       either        action

14   described        by     that      subsection             with       respect          to     each        ballot        in   the

15   election     to which          this    section          applies.

16            (d) AA A poll          watcher           is    entitled           to    observe           an    action        taken

17   under    Subsection          (b).

18            (e) AA The         secretary          of       state        may       prescribe            any        procedures

19   necessary        to implement          this        section.

20            SECTION        A 4.14. AA Section              87.041 , Election                   Code,       is amended          by

21   amending      Subsections             (b)     and        (e)       and     adding         Subsection             (d-1)      to

22   read    as follows:

23            (b) AA A ballot           may be accepted                  only    if:

24                      (1) AA the         carrier            envelope              certificate                is     properly

25   executed;

26                      (2) AA neither             the        voter ’s          signature               on      the        ballot

27   application           nor   the     signature            on the          carrier          envelope         certificate




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 1   is    determined            to       have       been        executed          by    a    person       other        than        the

 2   voter,     unless        signed        by a witness;

 3                        (3) AA the            voter ’s          ballot          application              states         a    legal

 4   ground     for early         voting             by mail;

 5                        (4) AA the         voter          is     registered            to    vote,       if    registration

 6   is required          by law;

 7                        (5) AA the         address             to which         the    ballot        was      mailed        to the

 8   voter,     as     indicated                by    the        application,             was    outside          the     voter ’s

 9   county     of residence,                if the          ground         for    early       voting      is absence              from

10   the county        of residence;

11                        (6) AA for         a voter             to whom       a statement             of residence                form

12   was   required         to    be       sent       under        Section         86.002 (a),            the    statement           of

13   residence        is    returned              in       the    carrier          envelope          and     indicates             that

14   the     voter        satisfies              the        residence              requirements              prescribed              by

15   Section        63.0011      ; [and]

16                        (7) AA the         address             to which         the    ballot        was      mailed        to the

17   voter     is    an    address          that       is        otherwise         required          by    Sections           84.002

18   and 86.003 ; and

19                        (8) AA the         information                 required         under        Section       86.002 (g)

20   provided        by    the    voter          identifies              the      same       voter     identified             on    the

21   voter ’s        application                     for         voter         registration                under          Section

22   13.002 (c)(8).

23             (d-1) AA If            a   voter        provides             the     information              required          under

24   Section        86.002 (g)            and     it       identifies             the    same    voter          identified           on

25   the     voter ’s       application                    for        voter        registration              under        Section

26   13.002 (c)(8),           the         signature              on   the      ballot         application           and       on    the

27   carrier        envelope          certificate                shall      be rebuttably             presumed          to be the




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                                                                                                            S.B. A No. A 1

 1   signatures           of the voter.

 2             (e) AA In making           the    determination               under       Subsection          (b)(2),         to

 3   determine        whether       the    signatures           are     those       of the       voter,         the       board

 4   may     also     compare       the   signatures            with        any    known      signature              [two    or

 5   more     signatures]         of the        voter      [made      within        the     preceding           six       years

 6   and]    on file       with     the   county        clerk      or voter         registrar         [to       determine

 7   whether        the signatures          are those        of the voter].

 8             SECTION      A 4.15. AA Subchapter               C , Chapter              87 , Election           Code,       is

 9   amended        by adding       Section      87.0411        to read           as follows:

10             Sec. A 87.0411.         AA OPPORTUNITY             TO CORRECT             DEFECT:          EARLY       VOTING

11   BALLOT     BOARD.        (a)      This      section        applies           to an early         voting          ballot

12   voted     by mail:

13                        (1) AA for      which       the       voter        did     not      sign        the        carrier

14   envelope        certificate;

15                        (2) AA for      which       it     cannot          immediately             be     determined

16   whether        the    signature        on the       carrier        envelope            certificate              is    that

17   of the voter;

18                        (3) AA missing        any required            statement           of residence;

19                        (4) AA missing          information                or          containing             incorrect

20   information            required        under          Section          84.002 (a)(1-a)                or        Section

21   86.002 ; or

22                        (5) AA containing           incomplete            information            with     respect          to

23   a witness.

24             (b) AA Before         deciding           whether        to    accept         or     reject        a    timely

25   delivered         ballot       under       Section         87.041 ,           the     early      voting          ballot

26   board     may:

27                        (1) AA return         the   carrier         envelope           to the      voter        by mail,




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 1   if     the     early       voting        ballot           board            determines              that       it     would       be

 2   possible         to      correct        the     defect           and        return           the    carrier             envelope

 3   before       the time       the polls          are required                 to close          on election               day;    or

 4                         (2) AA notify           the        voter        of     the        defect       by      telephone           or

 5   e-mail        and     inform      the     voter          that        the    voter         may      come      to     the       early

 6   voting       clerk ’s office            in person          to:

 7                                  (A) AA correct             the defect;              or

 8                                  (B) AA request              to     have       the        voter ’s        application              to

 9   vote    by mail          canceled       under       Section           84.032 .

10                (c) AA If      the      early          voting           ballot          board          takes          an      action

11   described           by    Subsection            (b),       the        board         must        take        either         action

12   described           by    that      subsection             with       respect            to     each        ballot        in    the

13   election        to which         this    section          applies.

14                (d) AA A poll        watcher           is    entitled            to    observe            an    action           taken

15   under    Subsection            (b).

16                (e) AA The      secretary           of       state        may         prescribe           any         procedures

17   necessary           to implement          this      section.

18                SECTION      A 4.16. AA Section              87.0431          (b),    Election          Code,         is amended

19   to read       as follows:

20                (b) AA The     early       voting           clerk        shall,        not       later         than        the    30th

21   day     after       election         day,       deliver           notice           to    the       attorney             general,

22   including             certified             copies              of         the       carrier                envelope            and

23   corresponding              ballot       application,                 of any ballot              rejected           because:

24                         (1) AA the voter           was deceased;

25                         (2) AA the        voter        already           voted            in    person          in     the       same

26   election;

27                         (3) AA the      signatures             on the          carrier           envelope            and    ballot




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 1   application         were       not executed            by the same            person;

 2                      (4) AA the         carrier         envelope         certificate            lacked      a witness

 3   signature;        [or]

 4                      (5) AA the         carrier          envelope            certificate          was      improperly

 5   executed        by an assistant;              or

 6                      (6) AA the         early        voting           ballot      board     or      the     signature

 7   verification            committee           determined              that      another      violation            of    the

 8   Election        Code    occurred.

 9             SECTION       A 4.17. AA Sections               87.062 (a)           and     (c),     Election          Code,

10   are amended        to read       as follows:

11             (a) AA On       the     direction              of     the     presiding         judge,         the      early

12   voting     ballot        board,        in    accordance               with    Section         85.032 (b),         shall

13   open     the    containers           [container]              for     the     early     voting     ballots           that

14   are    to be counted            by the      board,        remove        the    contents         from     each     [the]

15   container,        and remove           any ballots              enclosed        in ballot        envelopes           from

16   their    envelopes.

17             (c) AA Ballots          voted          by     mail        shall      be     tabulated         and     stored

18   separately        from     the       ballots          voted        by personal         appearance         and     shall

19   be    separately          reported          on     the     returns       A [The       results      of     all     early

20   voting     ballots        counted        by the          board       under     this     subchapter            shall    be

21   included        in the same          return].

22             SECTION       A 4.18. AA Section              87.103 , Election               Code,     is amended           to

23   read    as follows:

24             Sec. A 87.103.         AA COUNTING             BALLOTS        AND     PREPARING         RETURNS.            (a)

25   The     early     voting        electronic             system         ballots         counted      at     a    central

26   counting        station,        the    ballots           cast       at precinct         polling         places,       and

27   the    ballots         voted    by    mail       shall        be    tabulated         separately          [from       the




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                                                                                                                   S.B. A No. A 1

 1   ballots       cast      at    precinct           polling              places]       and     shall       be    separately

 2   reported        on the returns.

 3             (b) AA The         early       voting              returns            prepared           at     the       central

 4   counting        station       must      include             any       early     voting      results          obtained      by

 5   the early       voting        ballot        board          under       Subchapter          [Subchapters]             D [and

 6   E].

 7             SECTION       A 4.19. AA Section                 87.126 , Election                Code,       is amended         by

 8   adding       Subsection         (a-1)       to read          as follows:

 9             (a-1) AA Electronic                 records                 made     under        this        section         shall

10   record       both    sides      of any application,                      envelope,          or ballot           recorded,

11   and    all    such     records        shall           be    provided           to   the     early       voting       ballot

12   board,       the signature           verification                  committee,          or both.

13             SECTION       A 4.20. AA Subchapter                     G , Chapter          87 , Election             Code,     is

14   amended       by adding         Section          87.128          to read       as follows:

15             Sec. A 87.128.         AA NOTES.                Each     member        of an early            voting       ballot

16   board     and       each     member         of        a    signature            verification             committee         is

17   entitled        to take       and    keep        any       notes       reasonably          necessary          to perform

18   the member          ’s duties       under     this         chapter.

19                                   ARTICLE          5.       ASSISTANCE           OF VOTERS

20             SECTION       A 5.01. AA Section                 64.009 , Election                Code,       is amended         by

21   amending        Subsection           (b)      and          adding        Subsections           (e),          (f),    (f-1),

22   (g),    and (h) to read             as follows:

23             (b) AA The          regular             voting              procedures,             except            those      in

24   Subchapter           B, may     be modified                by the       election          officer        to the      extent

25   necessary        to conduct          voting           under       this       section.

26             (e) AA Except          as provided                by Section           33.057 , a poll              watcher      is

27   entitled        to observe          any activity                 conducted          under    this       section.




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                                                                                                                S.B. A No. A 1

 1               (f) AA A person               who simultaneously                assists       three    or more         voters

 2   voting         under            this         section           by         providing         the       voters            with

 3   transportation                 to the        polling       place      must     complete        and     sign       a form,

 4   provided           by    an     election           officer,         that     contains        the     person       ’s name

 5   and    address           and    whether         the    person         is    providing        assistance            solely

 6   under       this    section           or under        both    this        section     and Subchapter              B.

 7               (f-1) AA Subsection                 (f) does          not apply         if the person           is related

 8   to    each     voter           within        the     second       degree       by     affinity        or    the        third

 9   degree       by consanguinity,                     as determined             under       Subchapter         B , Chapter

10   573 , Government                Code.

11               (g) AA A form            completed         under      Subsection          (f) shall        be delivered

12   to    the    secretary               of    state      as   soon      as     practicable.             The     secretary

13   shall       retain       a form           delivered        under      this    section        for   the      period       for

14   preserving              the    precinct            election         records        and    shall      make     the       form

15   available          to the attorney                 general        for inspection            upon     request.

16               (h) AA The           secretary            of      state         shall        prescribe           the        form

17   described          by Subsection               (f).

18               SECTION       A 5.02. AA Section               64.031 , Election               Code,     is amended           to

19   read    as follows:

20               Sec. A 64.031.            AA ELIGIBILITY                FOR      ASSISTANCE.              A      voter        is

21   eligible       to receive                 assistance         in marking         or reading         the      ballot,       as

22   provided       by this           subchapter,           if the voter            cannot       prepare        or read       the

23   ballot       because           of:

24                           (1) AA a          physical         disability           that       renders          the        voter

25   unable       to write          or see;        or

26                           (2) AA an         inability          to     read     the     language         in    which        the

27   ballot       is written.




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                                                                                                                           S.B. A No. A 1

 1             SECTION       A 5.03. AA Subchapter                     B , Chapter             64 , Election                 Code,     is

 2   amended      by adding        Section          64.0322             to read         as follows:

 3             Sec. A 64.0322.          AA SUBMISSION                   OF       FORM        BY     ASSISTANT.                  (a) AA A

 4   person,        other      than        an    election               officer,             who    assists            a     voter     in

 5   accordance           with     this          chapter               is    required              to     complete             a     form

 6   stating:

 7                      (1) AA the          name       and    address             of    the        person        assisting            the

 8   voter;

 9                      (2) AA the          relationship                     to    the         voter           of      the      person

10   assisting        the voter;           and

11                      (3) AA whether             the       person          assisting             the    voter        received        or

12   accepted         any      form         of     compensation                    or        other         benefit             from      a

13   candidate,         campaign,           or political                committee.

14             (b) AA The secretary                of state             shall      prescribe              the form           required

15   by   this      section.          The       form     must          be    incorporated                into       the      official

16   carrier        envelope       if      the     voter          is    voting          an    early        voting           ballot     by

17   mail     and     receives          assistance                 under          Section           86.010 ,           or     must     be

18   submitted         to    an    election            officer              at    the        time        the    voter         casts      a

19   ballot      if    the    voter        is    voting           at    a polling             place        or    under         Section

20   64.009 .

21             SECTION       A 5.04. AA Section               64.034 , Election                     Code,           is amended         to

22   read   as follows:

23             Sec. A 64.034.         AA OATH.                A        person,          other            than         an     election

24   officer,         selected        to     provide          assistance                to     a voter           must        take     the

25   following        oath,       administered               by an election                   officer           at the         polling

26   place,      before      providing           assistance:

27             "I swear        (or affirm)             under           penalty         of perjury              that    the voter         I




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                                                                                                                           S.B. A No. A 1

 1   am    assisting              represented                 to       me      they        are        eligible         to      receive

 2   assistance;            I will          not    suggest,              by word,             sign,     or gesture,            how       the

 3   voter     should        vote;          [I    will        confine             my    assistance            to    answering            the

 4   voter ’s questions,                    to    stating              propositions              on        the     ballot,      and       to

 5   naming      candidates              and,      if listed,                 their       political              parties;]      I will

 6   prepare         the     voter ’s             ballot            as        the        voter        directs;         I      did        not

 7   encourage,            pressure,              or     coerce               the       voter        into         choosing         me     to

 8   provide        assistance;              [and]       I am not the voter ’s employer,                               an agent           of

 9   the     voter ’s employer,                   or     an    officer              or    agent        of    a labor         union        to

10   which     the    voter            belongs;         I will           not        communicate             information             about

11   how   the      voter        has    voted      to another                 person;          and     I understand            that       if

12   assistance             is     provided              to        a     voter           who      is        not     eligible             for

13   assistance,            the voter ’s ballot                     may not be counted."

14             SECTION       A 5.05. AA Sections                       86.010 (e),              (h),        and     (i),     Election

15   Code,     are amended              to read        as follows:

16             (e) AA A person               who       assists           a voter           to    prepare           a ballot         to    be

17   voted     by    mail        shall       enter       on        the      official            carrier           envelope      of       the

18   voter:

19                         (1) AA the             person       ’s        signature,                   printed          name,             and

20   residence        address;

21                         (2) AA the            relationship                     of     the     person            providing             the

22   assistance        to the voter;                   and

23                         (3) AA whether              the     person             received            or    accepted         any     form

24   of    compensation                or    other       benefit               from       a    candidate,            campaign,            or

25   political         committee             in    exchange                 for        providing           assistance          [on       the

26   official        carrier           envelope          of the voter].

27             (h) AA Subsection                  (f) does             not apply           to:




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                                                                                                           S.B. A No. A 1

 1                      (1) AA a      violation        of     Subsection            (c),        if   the    person         is

 2   related      to    the     voter     within       the     second       degree         by    affinity          or     the

 3   third     degree      by    consanguinity,               as    determined         under           Subchapter          B,

 4   Chapter     573 , Government             Code,        or was     physically           living          in the        same

 5   dwelling        as the voter        at the time          of the event;           or

 6                      (2) AA a      violation        of     Subsection            (e),        if   the    person         is

 7   related      to    the     voter     within       the     second       degree         by    affinity          or     the

 8   third     degree      by    consanguinity,               as    determined         under           Subchapter          B,

 9   Chapter     573 , Government             Code.

10             (i) AA An       offense        under         this      section        for         a     violation           of

11   Subsection         (c)    is increased           to the        next    higher     category            of offense

12   if it is shown           on the trial        of an offense             under    this        section      that:

13                      (1) AA the       defendant            was     previously                convicted           of     an

14   offense     under        this    code;

15                      (2) AA the       offense       involved            a voter     65        years      of     age     or

16   older;     or

17                      (3) AA the defendant                committed       another         offense         under        this

18   section     in the same           election.

19             SECTION     A 5.06. AA Section           86.013 (b),          Election           Code,      is amended

20   to read     as follows:

21             (b) AA Spaces          must    appear        on the     reverse        side       of the       official

22   carrier     envelope        for:

23                      (1) AA indicating             the    identity        and     date       of the      election;

24   [and]

25                      (2) AA entering              the       signature,             printed              name,          and

26   residence         address       of a person        other       than    the     voter        who    deposits          the

27   carrier     envelope            in the   mail     or with        a common        or contract             carrier;




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                                                                                                               S.B. A No. A 1

 1   and

 2                      (3) AA indicating              the    relationship                of that        person       to the

 3   voter.

 4             SECTION        5.07.        (a) AA The         secretary            of    state     shall        conduct         a

 5   study      regarding            the      implementation                  of        educational             programs,

 6   including         the        production           and     publication                on     the        secretary      of

 7   state ’s Internet              website       of    instructional                   videos,        to    help     voters

 8   with    disabilities            understand         how     to use        voting       systems           used    in this

 9   state.

10             (b) AA Not      later       than     December             1, 2022,        the    secretary           of state

11   shall     submit        to    the     standing          committees            of     the     legislature            with

12   jurisdiction           over     elections          a report           on the        study     required          by this

13   section.

14             (c) AA The         secretary       of    state,            using     existing           resources,         may

15   contract        with     a qualified           vendor          to    conduct         the    study        required     by

16   this    section.

17             (d) AA This        section      expires         December           1, 2023.

18                     ARTICLE       6.     FRAUD      AND OTHER           UNLAWFUL        PRACTICES

19             SECTION       A 6.01. AA Chapter              63 ,    Election             Code,        is     amended      by

20   adding     Section       63.0111       to read          as follows:

21             Sec. A 63.0111.           AA OFFENSES         RELATED         TO PROVISIONAL                 VOTING.       (a)

22   An     election         judge        commits        an     offense            if     the      judge        knowingly

23   provides        a voter        with    a form       for        an    affidavit            required        by   Section

24   63.001     if    the     form    contains          information               that     the     judge       entered     on

25   the form     knowing          it was false.

26             (b) AA An offense            under      this     section           is a state        jail      felony.

27             SECTION       A 6.02. AA Sections         A 276.004          (a)     and     (b),       Election         Code,




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                                                                                                                   S.B. A No. A 1

 1   are amended           to read       as follows:

 2             (a) AA A person            commits         an offense            if,       with    respect          to another

 3   person         over      whom        the      person         has         authority            in        the        scope        of

 4   employment,           the person           knowingly:

 5                         (1) AA refuses           to    permit         the       other        person        to    be     absent

 6   from     work     on election           day     or while           early       voting        is in progress                 for

 7   the purpose           of attending           the polls            to vote;          or

 8                         (2) AA subjects          or threatens               to subject              the       other     person

 9   to a penalty           for    attending         the     polls          on election            day      or while        early

10   voting        is in progress           to vote.

11             (b) AA It      is     an    exception             to    the     application              of       this     section

12   that     the    person       ’s conduct         occurs           in connection              with       an election              in

13   which     the polls          are open        on election               day or while           early         voting         is in

14   progress         for     voting         for     two         consecutive               hours        outside           of     the

15   voter ’s working             hours.

16             SECTION       A 6.03. AA Chapter              276 ,          Election           Code,        is     amended           by

17   adding        Sections       276.015,         276.016,           and 276.017              to read       as follows:

18             Sec. A 276.015.            AA VOTE    HARVESTING.                   (a)        In this       section        and       in

19   Section        276.016:

20                         (1) AA "Benefit"              means        anything        reasonably             regarded           as a

21   gain     or     advantage,           including         a promise               or    offer        of    employment,              a

22   political         favor,        or    an    official             act     of    discretion,               whether           to    a

23   person        or another        party      whose      welfare           is of interest                 to the person.

24                         (2) AA "Vote           harvesting                 services"                means         in-person

25   interaction           with    one     or more         voters,          in the        physical           presence          of an

26   official         ballot,        a    ballot          voted        by     mail,        or    an     application              for

27   ballot        by mail,       intended          to deliver              votes        for    a specific          candidate




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                                                                                                               S.B. A No. A 1

 1   or measure.

 2             (b) AA A person          commits        an offense             if the         person,        directly        or

 3   through     a third        party,     knowingly          provides             or offers         to provide           vote

 4   harvesting        services        in exchange           for compensation                  or other         benefit.

 5             (c) AA A person          commits        an offense             if the         person,        directly        or

 6   through      a    third     party,         knowingly           provides            or     offers          to    provide

 7   compensation          or    other        benefit        to    another           person         in    exchange         for

 8   vote    harvesting         services.

 9             (d) AA A    person        commits        an     offense             if    the     person         knowingly

10   collects       or possesses          a mail       ballot       or official               carrier       envelope        in

11   connection        with     vote    harvesting           services.

12             (e) AA This      section        does    not apply             to:

13                      (1) AA an        activity            not        performed              in        exchange          for

14   compensation          or a benefit;

15                      (2) AA interactions                 that        do     not       directly           involve         an

16   official       ballot,       ballot        by    mail,        or   an     application               for    ballot      by

17   mail;

18                      (3) AA interactions             that       are not conducted                     in-person        with

19   a voter;     or

20                      (4) AA activity          that       is not      designed             to deliver         votes      for

21   or against        a specific        candidate           or measure.

22             (f) AA In      this      section,            compensation                in     exchange             for   vote

23   harvesting         services         is     inferred           if   a     person         who     performed            vote

24   harvesting        services        for a candidate              or campaign              solicits,          receives,

25   or is offered         compensation              from    the candidate               or campaign,               directly

26   or   through      a third         party,     for       services          other      than       vote       harvesting

27   services       provided.




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                                                                                                                 S.B. A No. A 1

 1             (g) AA An       offense          under       this    section           is    a felony        of    the     third

 2   degree.

 3             (h) AA If       conduct           that        constitutes               an     offense         under         this

 4   section     also      constitutes             an offense             under       any     other       law,    the     actor

 5   may be prosecuted               under       this    section,             the other       law,       or both.

 6             (i) AA Records             necessary          to investigate                 an offense           under      this

 7   section     or     any     other       section          of    this       code     shall        be    provided         by    an

 8   election     officer            in an unredacted               form       to a law        enforcement           officer

 9   upon     request.              Records        obtained             under        this      subsection            are        not

10   subject     to public           disclosure.

11             Sec. A 276.016.            AA CIVIL       LIABILITY            FOR     VOTE     HARVESTING.               (a)      A

12   person      who     is     shown       by     a    preponderance                 of    the     evidence         to     have

13   violated      Section            276.015          is    civilly           liable        to     any     candidate            or

14   political         party        who   suffers        harm       from       the    vote     harvesting           services

15   for damages        and penalties              that      may be awarded                 under     Subsection           (c).

16             (b) AA A person             is    harmed        by       the    vote        harvesting        services            if

17   the person        can demonstrate                 that:

18                      (1) AA the person               has standing             to seek          relief;     and

19                      (2) AA the liable               party       violated          Section        276.015.

20             (b-1) AA To establish                   standing          under       this     section,        a person           is

21   not    required           to     demonstrate              that       the        vote     harvesting            services

22   successfully          delivered             votes       for    a specific              candidate        or measure,

23   but must     demonstrate              that:

24                      (1) AA the          vote        harvesting              services           were     intended             to

25   deliver     votes        for a specific             candidate             or measure;           and

26                      (2) AA the         person       opposed          the    candidate           or measure           in the

27   person    ’s capacity           as a candidate                or political             party.




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                                                                                                                      S.B. A No. A 1

 1             (c) AA A party             who      prevails            in an action            under        this     section        may

 2   recover        damages        in an amount                 including           any or all of:

 3                      (1) AA the amount                   of compensation                   paid    to or received              by a

 4   party     in exchange              for vote          harvesting             services;

 5                      (2) AA the              fair       market           value        of     any    benefit            given      or

 6   received        in exchange               for vote          harvesting              services;       or

 7                      (3) AA a penalty                  in the amount              of $35,000.

 8             (d) AA A party             who      is a candidate                  for    office       who    prevails         in an

 9   action         under     this           section            and    shows         that       the     number        of     voters

10   contacted         by     the        vote        harvesting              activity          exceeds         the     number        of

11   votes     by which           the     party       lost       the     election          shall      recover        additional

12   damages        in an amount               equal       to the          amount        of liability             attributed         to

13   the defendant            under          Subsection           (c).

14             (e) AA If           an     action           under            this     section           is     brought          by     a

15   candidate         for        office,          the     period          for     commencing          the     action        begins

16   on the     day    after           the     date       the    election           is certified             and     ends     on the

17   90th     day    after        the     later          of that        date        or the      date     election           records

18   are made        publicly           available           under          Section        1.012 .      If an action            under

19   this     section             is    brought            by     a    political              party,         the     period         for

20   commencing             the        action         begins          on     the     day       after        the      last     day     a

21   candidate         may        bring       an     action        and       ends    on       the    90th     day     after       that

22   date.      If an action                 under       this     section          is brought          by a candidate               for

23   office,        a political              party        may not bring             an action          under       this     section

24   for the same           instance            of vote         harvesting           activity.

25             (f) AA The              cause         of     action            created           by     this         section          is

26   cumulative         of any other                 remedy       provided           by common         law or statute.

27             (g) AA Rules             applicable              to a party ’s access                  to election           records




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                                                                                                                 S.B. A No. A 1

 1   under     Chapter         231     or    232        apply     to       a    cause       of    action         under       this

 2   section.

 3             (h) AA The expedited                actions        process            created       by Rule        169,    Texas

 4   Rules     of    Civil      Procedure,              does     not       apply       to   an     action        under       this

 5   section.

 6             (i) AA Chapter          27 , Civil           Practice            and     Remedies          Code,       does     not

 7   apply     to a cause        of action          under        this      section.

 8             (j) AA A cause          of    action         under       this         section        may    be    brought        in

 9   the    county      where        any    element         of    a violation               under       Section         276.015

10   occurred,          or    where         any      part        of     the          vote    harvesting               services

11   occurred.

12             (k) AA This       section          shall     be liberally               construed           and applied          to

13   promote        its underlying               purpose       to protect             candidates          and the voting

14   public     from     unlawful           vote        harvesting             and    provide        an efficient              and

15   economical         remedy       to secure           that    protection.

16             Sec. A 276.017.          AA UNLAWFUL             ALTERING          OF ELECTION             PROCEDURES.             A

17   public     official         may       not     create,        alter,             modify,       waive,        or     suspend

18   any     election        standard,            practice,           or       procedure          mandated        by     law    or

19   rule    in a manner         not expressly              authorized               by this      code.

20                                           ARTICLE        7.    ENFORCEMENT

21             SECTION       A 7.01. AA Section             18.065 , Election                    Code,     is amended           by

22   amending        Subsection            (a)    and    adding        Subsections               (e),     (f),    and    (g)    to

23   read    as follows:

24             (a) AA The      secretary            of state          shall       monitor         each     registrar           for

25   substantial         compliance              with      Sections            15.083 , 16.032 , 16.0332                  , and

26   18.061     and with        rules       implementing              the statewide               computerized            voter

27   registration            list.




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